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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CALEB BARNETT, et al.,
      Plaintiffs,
              vs.
                                                         Case No. 3:23-cv-209-SPM
 KWAME RAOUL, et al.,
                                                         ** designated Lead Case
      Defendants.

 DANE HARREL, et al.,
      Plaintiffs,
              vs.
                                                         Case No. 3:23-cv-141-SPM
 KWAME RAOUL, et al.,
      Defendants.

 JEREMY W. LANGLEY, et al.,
      Plaintiffs,
              vs.                                        Case No. 3:23-cv-192-SPM
 BRENDAN KELLY, et al.,
      Defendants.

 FEDERAL FIREARMS
 LICENSEES OF ILLINOIS, et al.,
      Plaintiffs,
                                                         Case No. 3:23-cv-215-SPM
              vs.
 JAY ROBERT “JB” PRITZKER, et al.,
      Defendants.


               JOINT STIPULATION REGARDING EXPERT WITNESSES
                            AND TRIAL PROCEDURE

       To reduce the burden and costs of discovery, ensure the parties’ readiness by the scheduled

trial date, limit the length and costs of trial, promote judicial efficiency and the convenience of

witnesses, and in furtherance of the goals set forth in Federal Rule of Civil Procedure 1, the

Plaintiffs and undersigned Defendants in the above-captioned cases respectfully submit this

stipulation pursuant to the Federal Rules of Civil Procedure 16, 26, and 29 for the Court’s approval.

       1.      Definitions. In this stipulation:

                   a. “Plaintiffs” are all plaintiffs in the four above-captioned actions: Dane
                      Harrel, C4 Gun Store, LLC, Marengo Guns, Inc., Illinois State Rifle
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                       Association, Firearms Policy Coalition, Inc., and Second Amendment
                       Foundation (“Harrel plaintiffs”); Jeremy W. Langley, Timothy B. Jones,
                       and Matthew Wilson (“Langley plaintiffs”); Caleb Barnett, Brian Norman,
                       Hood’s Guns & More, Pro Gun and Indoor Range, and National Shooting
                       Sports Foundation, Inc. (“Barnett plaintiffs”); Federal Firearms Licensees
                       of Illinois, Guns Save Life, Gun Owners of America, Gun Owners
                       Foundation, Piasa Armory, Debra Clark, Jasmine Young, and Chris Moore
                       (“FFL plaintiffs”).

                   b. “State Defendants” are Defendants Governor JB Pritzker, Attorney
                      General Kwame Raoul, and Director Brendan Kelly.

                   c. The “Hearing” is the bench trial set by the Court to begin on September
                      16, 2024, ECF 195, or any day to which such trial may be continued.

                   d. A “Witness List” is the list of witnesses the Court ordered the parties to
                      exchange on September 6, 2024. ECF 195.

                   e. An “Expert Witness” is any witness previously identified by Plaintiffs or
                      the State Defendants in this matter pursuant to the Court’s orders and
                      Federal Rule of Civil Procedure 26(a)(2)(A).

                   f. A “Non-Testifying Expert Witness” is any Expert Witness who:

                           i. is not included on a Witness List; or

                          ii. is included on a Witness List but, for whatever reason, does not
                              testify at the Hearing.

       2.      Plaintiffs’ Expert Witnesses. As of the date of this stipulation, Plaintiffs intend to

call the following Expert Witnesses to testify at the Hearing: Stephen “Randy” Watt, Jeffrey Eby,

and James Ronkainen.

       3.      Defendants may depose the Expert Witnesses identified in the preceding paragraph

2 but shall not depose any of Plaintiffs’ other Expert Witnesses (except for the depositions of Paul

Leitner-Wise and Stephen “Randy” Watt that preceded this stipulation).

       4.      Plaintiffs may include on their Witness List any of the Expert Witnesses identified

in the preceding paragraph 2 but shall not include on their Witness List any Expert Witness who

is not identified in the preceding paragraph 2.



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       5.      State Defendants’ Expert Witnesses. As of the date of this stipulation, the State

Defendants intend to call the following Expert Witnesses to testify at the Hearing: Peter Lucier,

Jason Dempsey, and Craig Tucker.

       6.      Plaintiffs may depose the Expert Witnesses identified in the preceding paragraph 5

but shall not depose any of the State Defendants’ other Expert Witnesses.

       7.      The State Defendants may include on their Witness List any of the Expert

Witnesses identified in the preceding paragraph 5 but shall not include on their Witness List any

Expert Witness who is not identified in the preceding paragraph 5.

       8.      Limit on Hearing Testimony. Only a person who is included on a party’s Witness

List may testify live at the Hearing.

       9.      Expert Witness Declarations. The proponent of any Expert Witness, including a

Non-Testifying Expert Witness, may submit a declaration by the witness to authenticate reports

previously provided by the witness pursuant to the Court’s orders and Federal Rule of Civil

Procedure 26(a)(2)(B). Any party may also submit the transcript of a deposition taken in these

actions of any Expert Witness for the Court’s consideration.

       10.     If any Expert Witness authenticates a report as provided in the preceding paragraph

9, then:

               a.      the contents of the Expert Witness’s report shall be considered to be part
       of the record in this proceeding to the same extent as if the Expert Witness had testified
       to such at the Hearing;

              b.     Plaintiffs and the State Defendants may cite to or rely on the contents of
       the Expert Witness’s report in briefs;

               c.     no party shall object to such citation or reliance on the grounds that the
       Expert Witness, including a Non-Testifying Expert Witness, did not testify at the Hearing
       or related grounds based on the Federal Rules of Evidence;




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               d.     all other objections concerning the Expert Witness are preserved,
       including but not limited to objections related to the requirements of Federal Rule of
       Civil Procedure 26 or Federal Rule of Evidence 702; and

               e.     the parties agree the Court may rely on the contents of the Expert
       Witness’s report and deposition testimony in resolving the parties’ disputes in this matter,
       regardless of whether the Expert Witness testifies live at the Hearing, and subject to any
       objections made pursuant to subparagraph (d) above.

       11.     This stipulation is dated July 15, 2024, and shall become effective upon the Court’s

approval.



SO STIPULATED:

/s/ Kathryn Hunt Muse                                /s/ David G. Sigale
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SO ORDERED:



Honorable Stephen P. McGlynn
United States District Judge




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